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Dec 22, 2020 at 2:14 PM




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                 If this ere a patent suit, and Kinne and Jo ers ere the principals of rival chip manufacturers, these
                     ould be serious issues, deserving of a careful revie and anal sis. But this isn t a patent suit, and
                 Kinne and Jo ers are not the principals of competing chip manufacturers the re the principals of
                 a                             and the material at issue is, at best, marginall sensitive and is three ears
                 old. Given all of this, there is simpl no good reason an court should have to delve into precisel ho
                 much of the material Kinne should be permitted to see. Instead, this is the ver sort of issue attorne s
                     orking in good faith should ork out.


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                In both instances, the depositions ere scheduled b Jo ers unilaterall , after being told that the
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                proposed dates ere unavailable or that a itness ould not be there. At bottom, the dispute
                revolves around the fact that there are ve MWK entities that are parties to the case MWK (the
                plaintiff), as ell as Counsel Unlimited LLC, Kinne Recruiting LLC, Kinne Recruiting Limited, and
                Recruiting Partners GP, Inc. (all of hom Jo ers sued in his counterclaim). Tauler has informed MWK
                that, in addition to deposing Kinne individuall , he also intends to take a deposition of each entit , for
                    hich Kinne           ill be the corporate representative. Based on this, Tauler has unabashedl insisted that
                he is entitled to take si depositions, each seven hours in length. With no hint of shame, Tauler
                recounts that hen the topic of the depositions as discussed, Kinne                              requested an agreement b
                Jo ers to limit the number of those depositions b combining and consolidating them so that,
                Kinne          ould not need to be deposed for a separate, seven-hours long da for each of the ve
                named entities. Jo ers s counsel told him . . . that no such agreement ould be acceptable.


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                The conduct b Mr. Jo ers and Mr. Tauler evidenced in the ten motions addressed here is deplorable.
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                It is the essence of hat makes the public have lo regard for la                           ers. It is pett , and unprofessional.
                And, most importantl , it has diverted the scarce judicial resources of this Court from disputes far more
                deserving of the Court s time. In Ma , Jo ers and Tauler ere arned that there ould be
                consequences for continuing the conduct the Court as alread seeing at that point. Rather than
                correcting things, the both doubled do n and increased their abusive approach to this case.
                Accordingl , no later than Ja           a         5, 2021, both Jo ers and Tauler shall le a ritten brief sho ing
                cause h the should not both be sanctioned for the costs the have caused the Plaintiff and
                Counter-Defendants to incur to respond to the baseless motions disposed of here.


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